        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 1 of 23



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,
                                            Redacted Public Version

               Defendant


           GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
   DEFENDANT PAUL J. MANAFORT, JR.’S MOTION TO SUPPRESS EVIDENCE
       AND THE FRUITS THEREOF RELATING TO THE SEARCH OF HIS
            RESIDENCE LOCATED IN ALEXANDRIA, VIRGINIA

       The United States of America, by and through Special Counsel Robert S. Mueller, III, files

this memorandum in opposition to defendant Paul J. Manafort, Jr.’s motion (Doc. 264) to suppress

evidence that the government obtained pursuant to a warrant authorizing the search of his residence

located in Alexandria, Virginia. Manafort argues principally that the warrant violated the Fourth

Amendment’s particularity requirement, that it impermissibly authorized seizure of electronic

devices without probable cause to believe they would be found in his residence, and that the

government unreasonably executed the warrant by seizing devices outside its scope and retaining

the seized materials for a period of nine months following the search. These arguments lack merit.

       The warrant satisfied the constitutional particularity requirement. Far from being “an

overbroad general warrant” (Doc. 264 at 1), the warrant enumerated 11 specific categories of

records that were subject to seizure, all of which must relate to the criminal offenses listed

alongside those categories in the warrant. The supporting affidavit also established ample probable

cause to believe that electronic devices would contain evidence of the crimes at issue and would

be found at Manafort’s residence. In any event, the warrant was not so deficient as to particularity
            Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 2 of 23



or probable cause as to prevent law enforcement agents from reasonably relying on it. Any

constitutional infirmity therefore would not require suppression under the good-faith exception to

the exclusionary rule.

        Manafort’s complaints about the execution of the warrant fare no better. His challenge to

the scope of the seizure fails because devices such as iPods were subject to seizure as storage

media on which responsive records could be found. Further, the government’s handling of the

materials seized from the residence has been reasonable at every step. The government “imaged”

electronic devices onsite so that Manafort could retain the originals, has used a filter team to protect

attorney-client and other privileges, and has offered throughout the discovery process to provide

Manafort with documents that the government has identified as likely irrelevant to the current

prosecution. That conduct fully complies with the Fourth Amendment and, under the good-faith

exception, would not justify suppression of any materials within the scope of the warrant even if

it did not. For these and other reasons explained further below, Manafort’s motion to suppress

should be denied.

                                          BACKGROUND

        The relevant facts, as established by the warrant, the supporting affidavit, and related

materials, are as follows. 1

        1. On July 25, 2017, an agent of the Federal Bureau of Investigation (FBI) (“Affiant”)

submitted an application for a warrant to search Manafort’s condominium in Alexandria, Virginia.

The application was based on a 41-page affidavit, submitted by the Affiant, describing potential




        1
         Manafort has appended a heavily redacted version of the warrant affidavit (“Aff.”) to his
motion. Because this memorandum refers to portions of the affidavit not visible in that redacted
version, the government is separately seeking leave of the Court to file an unredacted version of
this memorandum, as well as unredacted copies of the warrant application, under seal.
                                                  2
         Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 3 of 23



violations of approximately ten criminal statutes arising from three sets of activities (“the Subject

Offenses”). Aff. ¶ 3; see



       First, the Affidavit



                            In particular,




                                                                     .

       Second, the Affidavit




                                                                                                .

       Third, the Affidavit




       After describing the evidence of potential criminal violations, the Affidavit set forth



                                                3
           Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 4 of 23



reasons to believe that pertinent financial records, business records, and other materials would be

found at Manafort’s residence. Aff. ¶¶ 60-80. This included information, provided by a Manafort

employee who had recently been at the residence, about Manafort’s use of a home office and the

nature of the documents the employee had observed at the residence. Id. ¶¶ 65-71. In addition,

and as relevant here, the Affidavit explained that the government was seeking authorization to

search for responsive records on computers and other storage media located in the home. Id. ¶ 75.

In that regard, the Affidavit noted that the same Manafort employee had reported seeing a desktop

computer in Manafort’s home office and had described Manafort’s “widespread use of electronic

media in the course of his business activity.” Id. ¶76. The employee further reported that Manafort

previously had a drawer full of phones and electronic equipment at his prior residence in Alexan-

dria, from which he had moved in 2015. Id. ¶¶ 71, 76. The Affidavit concluded by reiterating that,

in accordance with Federal Rule of Criminal Procedure 41(e)(2)(B), the government was seeking

a warrant that authorized not only seizing of electronic devices that may have been used to commit

the Subject Offenses but also “seizing, imaging, or otherwise copying storage media that

reasonably appear to contain some or all of the evidence described in the warrant.” Aff. ¶ 80. 2

       2. Based on the Affidavit, on July 25, 2017, a magistrate judge in the Eastern District of

Virginia issued a warrant authorizing the search of Manafort’s residence, including “any locked

drawers, containers, cabinets, safes, computers, electronic devices, and storage media (such as hard




       2
         The process of imaging storage media for later offsite review described in the Affidavit
conforms to a standard law enforcement practice that was formalized in the 2009 amendments to
Federal Rule of Criminal Procedure 41. See Fed. R. Crim. P. 41 adv. comm. note (2009
amendment) (updated Rule “acknowledges the need for a two-step process: officers may seize or
copy the entire storage medium and review it later to determine what electronically stored
information falls within the scope of the warrant”).
                                                4
           Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 5 of 23



disks or other media that can store data) found therein.” Doc. 264-2, Attach. A. 3 Attachment B

to the warrant permitted agents executing the warrant to seize “[c]omputers or storage media used

as means to commit the Subject Offenses,” as well as “[r]ecords relating” to the list of the Subject

Offenses “occurring on or after January 1, 2006.” Items subject to seizure, the warrant stated,

“includ[ed] but [were] not limited to” records falling within 11 specific categories of records,

among them:

       a. Any and all financial records for Paul Manafort, Jr., [Manafort’s wife], Richard
          Gates, or companies associated with [those individuals], including but not
          limited to records relating to any foreign financial accounts and records relating
          to payments by or on behalf of any foreign government, foreign officials,
          foreign entities, foreign persons, or foreign principals;

       b. Any and all federal and state tax documentation, including but not limited to
          personal and business tax returns and all associated schedules for Paul
          Manafort, Jr., Richard Gates, or companies associated with Manafort or Gates;

       c. Letters, correspondence, emails, or other forms of communications with any
          foreign financial institution, or any individual acting as the signatory or
          controlling any foreign bank account;

       d. Records relating to efforts by Manafort, Gates, or their affiliated entities to
          conduct activities on behalf of, for the benefit of, or at the direction of any
          foreign government, foreign officials, foreign entities, foreign persons, or
          foreign principals, including but not limited to the Party of Regions and Viktor
          Yanukovych;

                                               ***

       h. Communications, records, documents, and other files involving any of the
          attendees of the June 9, 2016 meeting at Trump tower, as well as Aras and Amin
          Agalorov;




       3
          Attempting to tie this warrant to a separate motion to dismiss he has filed, Manafort
asserts in a footnote that the warrant is invalid because, he claims, “the Special Counsel did not
have the authority or jurisdiction to apply for the [s]earch [w]arrant.” Doc. 264 at 1 & n.2. That
assertion ignores that a law enforcement officer, not the Special Counsel, applied for the warrant
and that, in any event, the warrant application states that it was reviewed by an Assistant U.S.
Attorney in the Eastern District of Virginia, Doc. 264-2 at 1.
                                                5
           Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 6 of 23



       i.    Evidence indicating Manafort’s state of mind as it relates to the crimes under
            investigation[.]

Doc. 264-1, Attach. B ¶ 1.

       3. The government executed the warrant on July 26, 2017, the day after it was issued. 4

The executing agents seized financial and other records and a number of electronic storage devices.

Doc. 264-1 (redacted warrant return). 5 The agents “imaged,” or made digital copies of, many of

those devices on site, thereby allowing Manafort to retain custody of the devices. Id. at 7. With

respect to seized documents, the agents “flagged” a set of materials “for possible attorney-client

privilege.” Id. at 2, 10-11. Those materials were immediately segregated and, within days of the

search, were made available to the attorneys who represented Manafort at the time.              The

government also (i) put in place a “filter team” of attorneys outside the prosecution team to screen

data on the seized devices for privileged material, and (ii) used automated processes—described

to defense counsel in discovery letters—to segregate materials that were not likely relevant to the

criminal case. These measures are discussed in further detail in Part II.B below.

                                          ARGUMENT

I. The Warrant Satisfies The Fourth Amendment’s Particularity And Probable Cause
   Requirements

       Manafort contends (Doc. 264 at 2-6) that the warrant authorizing a search of his residence

violated the Fourth Amendment because it “was unconstitutionally overbroad” and the supporting



       4
        The warrant application had not sought permission to enter without knocking. In issuing
the warrant, the magistrate judge authorized the government to execute the warrant any day
through August 8, 2017, and to conduct the search “in the daytime [from] 6:00 a.m. to 10:00 p.m.”
Doc. 264-1 at 1. The government complied fully with those date and time conditions, and
Manafort does not contend otherwise.
       5
          The government is filing contemporaneously with this memorandum a motion for leave
to file under seal an unredacted version of the search warrant application and related documents,
which include the search warrant return. See n.1, supra.
                                                6
         Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 7 of 23



affidavit did not establish probable cause that electronic devices connected to the Subject Offenses

would be found at the residence. These contentions fail on the merits and would not, in any event,

justify suppression in light of the good-faith exception to the exclusionary rule.

       A. The Warrant Was Sufficiently Particular

       The Fourth Amendment provides that “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

violated, and no warrants shall issue, but upon probable cause, supported by oath or affirmation,

and particularly describing the place to be searched, and the persons or things to be seized.” U.S.

Const. Amend. IV. The second (or “Warrant”) clause of the Amendment contains the particularity

requirement, which was designed “to prevent general searches.” Maryland v. Garrison, 480 U.S.

79, 84 (1987). “By limiting the authorization to search to the specific areas and things for which

there is probable cause to search,” the Supreme Court has explained, “the requirement ensures that

the search will be carefully tailored to its justifications, and will not take on the character of the

wide-ranging exploratory searches the Framers intended to prohibit.” Id.

       As the Court’s explanation in Garrison reflects, the requirement that a warrant “particularly

describ[e]” the place to be searched and things to be seized embodies two “related but distinct

concepts”: “breadth and particularity.” United States v. Ulbricht, 858 F.3d 71, 102 (2d Cir. 2017),

pet. for cert. filed, No. 17-950 (Jan. 4, 2018). “Particularity is the requirement that the warrant

must clearly state what is sought,” while “[b]readth deals with the requirement that the scope of

the warrant be limited by the probable cause on which the warrant is based.” United States v. Hill,

459 F.3d 966, 973 (9th Cir. 2006) (internal citation and quotation marks omitted), cert. denied,

549 U.S. 1299 (2007); see United States v. Griffith, 867 F.3d 1265, 1275-76 (D.C. Cir. 2017)

(explaining that the particularity requirement “prevents the issuance of warrants on loose, vague



                                                 7
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 8 of 23



or doubtful bases of fact” and, “[i]n that way, . . . is closely tied to the requirement of probable

cause”) (quotation marks, citations, and brackets omitted).

       Manafort’s challenges to three specific provisions in the warrant implicate both of these

concepts. Attacking the warrant’s breadth, Manafort argues (Doc. 264 at 3) that “nothing in the

affidavit justifies” seizing as “broad” a category of records as the one authorized by the first

enumerated clause in Attachment B. That category covers “[a]ny and all financial records for Paul

Manafort, Jr., [Manafort’s wife], Richard Gates, or companies associated with” those three

individuals that relate to the Subject Offenses for the period starting January 1, 2006, “including

but not limited to records relating to any foreign financial accounts and records relating to

payments by or on behalf of any foreign government, foreign officials, foreign entities, foreign

persons, or foreign principals.” Doc. 264-2, Attach. B ¶ 1a.

       The Affidavit amply justified a search of that scope. It described at length facts giving

reason to believe that Manafort and Gates had committed, among other offenses, tax crimes,

violations of the Foreign Agents Registration Act (FARA), and money laundering through their

decade-long work for Ukraine and funneling of money back into the United States.




                                                                              Those facts made it

reasonable to seek evidence not just in Manafort’s own financial records relating to the Subject

Offenses, but those of his close business associate (Gates), his wife, and companies affiliated with

those three individuals. Indeed, given the tax and banking crimes among the Subject Offenses, an

examination of all financial records for the period was necessary for investigators to understand



                                                8
         Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 9 of 23



all sources of Manafort’s income, whether legitimate or illegitimate. The first category in

Attachment B, in short, authorized seizures fully consistent with the scope of the probable cause

established in the Affidavit. See, e.g., United States v. Fattah, 858 F.3d 801, 819-20 (3d Cir. 2017)

(rejecting, in prosecution alleging bank fraud and other offenses, challenge to a warrant that

“authorized the seizure of a number of document types, including ‘[a]ll financial records’”).

       Manafort next attacks as insufficiently particular the provision authorizing seizure of

records that contain “[e]vidence indicating Manafort’s state of mind as it relates to the crimes

under investigation.” Doc. 264-2, Attach. B ¶ 1i. “State of mind” (much like motive) is a concept

that is familiar to law enforcement officers and that can therefore “provide meaningful guidance

to the officer charged with” executing the warrant. See United States v. Reeves, 210 F.3d 1041,

1046 (9th Cir. 2000) (citation omitted). Indeed, the Supreme Court has approved the seizure of

documents relating to one transaction to help prove fraud in another transaction precisely because

those documents were relevant to show the defendant’s mental state—viz., his “intent to defraud.”

Andresen v. Maryland, 427 U.S. 463, 483-84 (1976); see also Messerschmidt v. Millender, 565

U.S. 535, 551 (2012) (explaining, in the context of qualified immunity, how a reasonable officer

could have believed that evidence of gang affiliation covered by a warrant would “help establish

motive” for an assault crime). Many of the Subject Offenses here similarly require proof of an

intent to defraud, see 18 U.S.C. § 1343, or other heightened mental states, see, e.g., 22 U.S.C.

§ 618(a) (willfulness for FARA); 31 U.S.C. § 5322 (same for FBAR). When construed in light of

that list of Subject Offenses, the state-of-mind category provided sufficiently meaningful guidance

on the scope of permissible seizures to satisfy the Fourth Amendment’s particularity requirement.

See United States v. Tsarnaev, 53 F. Supp. 3d 450, 455-57 (D. Mass. 2014) (rejecting particularity

challenge to warrant that authorized seizure of, among other categories, “[p]roperty, records, or



                                                9
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 10 of 23



information related to the state of mind and/or motive” of suspects who perpetrated attack).

        Finally, Manafort asserts that the clause in Attachment B authorizing the seizure of

“[c]omputers or storage media used as a means to commit the Subject Offenses,” Doc. 264-2,

Attach. B. ¶ 2, “did not limit the agents’ discretion in determining what computers or storage media

fit that description,” Doc. 264 at 3. The particularity requirement, however, turns in significant

part on “the information available to the investigating agent that could limit the search at the time

the warrant application is given to the magistrate.” United States v. Yusuf, 461 F.3d 374, 395 (3d

Cir. 2006), cert. denied, 549 U.S. 1338 (2007); see United States v. Maxwell, 920 F.2d 1028, 1031

(D.C. Cir. 1990) (because the particularity “assess[ment]” is “concerned with the realities of

administration of criminal justice,” “[i]t is sufficient if the warrant signed by the judicial officer is

particular enough if read with reasonable effort by the officer executing the warrant” (internal

quotation marks omitted)). And courts have not demanded detailed descriptions of electronic

devices subject to seizure when investigators have reason to know that such devices will be found

at a location but cannot precisely identify them by, for example, type or brand. 6

        The D.C. Circuit’s decision in Griffith, cited by Manafort (Doc. 264 at 3-6), illustrates the

point. There, officers investigating a year-old murder obtained a warrant to search for and seize

“all electronic devices” found in the home of the suspected getaway driver’s girlfriend. 867 F.3d

at 1269-70. The D.C. Circuit held the ensuing seizure of the devices from the home invalid because



        6
          See, e.g., United States v. Burroughs, 905 F. Supp. 2d 297, 307 (D.D.C. 2012) (warrant
authorizing seizure of cellphones, weapons, and iPod Shuffle device was sufficiently particular
even though it did not identify “the color, size, and type” of the phones, the model of the gun, or
“the color of the iPod Shuffle”), aff’d on other grounds, 810 F.3d 833 (D.C. Cir. 2016); United
States v. Loera, 59 F. Supp. 3d 1089, 1151-52 (D. N.M. 2014) (language permitting agents to seize
“any computers, cell phones, and/or electronic media that could have been used as a means to
commit the offenses described in the warrant,” was sufficiently particular where the government
did not know “what computer equipment or electronic devices that [the target] would have used
to” perpetrate the crimes or conceal evidence).
                                                  10
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 11 of 23



the warrant affidavit had not established probable cause that the suspect even owned a cellphone—

which was the lone device that the government was seeking—much less that any such phone

contained incriminating evidence or would be found at the girlfriend’s home. Id. at 1271-75. That

problem was compounded, the court explained, by the warrant’s authorization to seize electronic

devices belonging to others, without any reason to believe that those devices would contain

evidence related to the murder. Id. at 1276.

       Even as it held the warrant to seize all electronic devices invalid, however, the court in

Griffith recognized that warrants may authorize seizure of a “broader” class of devices “when a

reasonable investigation cannot produce a more particular description.” 867 F.3d at 1276. The

court gave as an example a scenario in which police learn “through an informant” about a suspect’s

use of an electronic device “and thus have no ability to describe the specific characteristics of” that

device, such as its “make or model.” Id. The circumstances described in Griffith approximate

those that the agents faced in this case. Specifically, while the government learned from an

informant that Manafort currently had one particular device (a desktop computer) in the home

office of his residence and had “made widespread use” of other devices in the recent past, Aff. ¶ 76,

it could not more particularly describe those devices at the time that agents sought the warrant.

The Fourth Amendment therefore did not require the agents to use a description more specific than

the categorical (and commonly employed) one found in the warrant.

       B. The Affidavit Established Probable Cause To Believe That Electronic Devices
          Containing Relevant Records Would Be Found In The Place Searched

       Again invoking Griffith, Manafort argues (Doc. 264 at 4-6) that the Affidavit failed to

establish probable cause that the electronic devices subject to search and seizure under the warrant

would be found in his residence. Manafort is correct on the law: applications for a warrant to

search someone’s property cannot rest solely on facts showing that the individual committed a

                                                 11
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 12 of 23



crime and must instead “demonstrate cause to believe that ‘evidence’” of the crimes under

investigation “‘is likely to be found at the place to be searched.’” Griffith, 867 F.3d at 1271

(quoting Groh v. Ramirez, 540 U.S. 551, 568 (2004)). Manafort errs, however, in applying that

principle to the facts of this case.

        Notably, Manafort’s motion does not cite the governing probable-cause standard, which is

far less exacting than his analysis would suggest. A determination of probable cause requires a

“practical, common-sense” evaluation of the facts recited in support of a search warrant to

determine whether there is a “fair probability that contraband or evidence of a crime will be found.”

Illinois v. Gates, 462 U.S. 213, 238 (1983). The probable-cause standard “does not deal with hard

certainties, but with probabilities,” and law enforcement officers are entitled to “formulate[]

certain common-sense conclusions about human behavior.” Id. at 231 (quoting United States v.

Cortez, 449 U.S. 411, 418 (1981)). “All that [is] required” for probable cause, the Court declared

most recently, “is the kind of fair probability on which reasonable and prudent people, not legal

technicians, act.” Florida v. Harris, 568 U.S. 237, 244 (2013) (internal quotation marks and

brackets omitted)). In addition, “[a] magistrate’s ‘determination of probable cause should be paid

great deference by reviewing courts.”’ Gates, 462 U.S. at 236 (quoting Spinelli v. United States,

393 U.S. 410, 419 (1969)).

        Under that settled standard, the Affidavit established probable cause to believe both that

Manafort’s computers and storage media would contain evidence of the Subject Offenses and that

those devices would be found at his residence. First, the Affidavit




                                                12
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 13 of 23




                                                                                               Along

with the reasons for expecting business and financial records to be stored at the residence in some

form, see id. ¶¶ 61-71, those descriptions allowed the issuing magistrate to draw the “common-

sense conclusion[,]” Gates, 462 U.S. at 231, that evidence relating to the Subject Offenses would

likely be found on Manafort’s electronic devices.

       The Affidavit also set forth a sufficient basis for believing that computers and other storage

devices containing evidence of the Subject Offenses would be found at Manafort’s residence. In

particular, the Affidavit explained as a general matter that one form in which relevant records

“might be found is data stored on a computer’s hard drive or other storage media.” Aff. ¶ 75. It

then recited several facts about Manafort’s particular use of computers, as provided by a Manafort

employee who                                                           had been inside the residence

as recently as three weeks before the warrant. Id. ¶¶     , 67, 76. Those facts included:

       •   that the employee had seen a desktop computer on the desk in the room that Manafort
           used as a home-office, Aff. ¶ 76;

       •   “that Manafort ha[d] made widespread use of electronic media in the course of his
           business activity,” id.; and

       •   that Manafort had a drawer full of “phones and electronic equipment” in his prior
           Alexandria residence and had given the employee—either for donation to charity or
           other use—“several additional devices, both laptops and cellular phones,” id.

These are not “an assortment of truisms,” as Manafort asserts (Doc. 264 at 5). They are concrete

facts about Manafort’s use of (and access to) electronic devices that reasonably led the issuing

magistrate to find a fair probability that such devices would be “found at the placed to be searched.”

See Griffith, 867 F.3d at 1273 (internal quotation marks omitted); see id. at 1271 (recognizing that




                                                 13
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 14 of 23



reviewing courts “pay ‘great deference’ to the [issuing] judge’s initial determination of probable

cause” (quoting Gates, 462 U.S. at 236)).

       Manafort’s contrary argument rests largely on a misreading of the nature of the search and

seizure authorized by the warrant. He focuses solely on whether the Affidavit “establish[ed]

probable cause to believe that the electronic devices purportedly used in the commission of the

subject offenses are likely to be found in the Manafort home.” Doc. 264 at 5 (emphasis added).

The italicized language tracks the provision in the warrant authorizing the seizure of “[c]omputers

or storage media used as means to commit the Subject Offenses”—that is, devices that were

instrumentalities of the Subject Offenses. Doc. 264-1, Attach. B ¶ 2. But the warrant also allowed

the government to search “computers, electronic devices, and storage media” found at the

residence for the various categories of records enumerated in Attachment B.            Doc. 264-1,

Attach. A; see Aff. ¶ 80 (explaining that, consistent with Federal Rule of Criminal Procedure

41(e)(2)(B), the Affiant sought a warrant that “permit[s] seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant”). That portion of the warrant alone authorized the search and seizure of all of the devices

that the government obtained at the residence. Accordingly, the relevant question is not whether

the Affidavit established probable cause to believe that devices used as instrumentalities of the

offense would be found at the residence, as Manafort asserts; it is whether the Affidavit

demonstrated cause to believe that evidence of the Subject Offenses would be found on computers

and other storage media and that such devices would be found at Manafort’s residence.

See Griffith, 867 F.3d at 1273. And for the reasons given above, the answer to that question is yes.




                                                14
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 15 of 23



       C. Suppression Is Unwarranted In Any Event Under The Good-Faith Exception To
          The Exclusionary Rule.

       Even if Manafort’s particularity and probable-cause challenges were meritorious,

suppression would be unwarranted under the good-faith exception to the exclusionary rule.

See United States v. Leon, 468 U.S. 897, 922 (1984). As the Supreme Court has explained, the

exclusionary rule “does not apply when the police conduct a search in ‘objectively reasonable

reliance’ on a warrant later held invalid.” Davis v. United States, 564 U.S. 229, 238-39 (2011)

(quoting Leon, 468 U.S. at 922). “The error in such a case rests with the issuing magistrate, not

the police officer, and ‘punish[ing] the errors of judges’ is not the office of the exclusionary rule.”

Id. at 239 (quoting Leon, 468 U.S. at 916). Of relevance here, the Court has applied that reasoning

both where the warrant was allegedly unsupported by probable cause (as in Leon, 468 U.S. at 903),

and where it was found to be overbroad (as in the companion case of Massachusetts v. Sheppard,

468 U.S. 981, 988-91 (1984)).

       The circumstances of this case fall within the heartland of the good-faith exception. The

Affiant prepared a 41-page affidavit that (a) described in detail facts that undisputedly establish

probable cause to believe that Manafort committed the Subject Offenses and (b) also included facts

that led a neutral magistrate to find probable cause that evidence of those violations would be

found at the residence. The Affiant had the warrant application reviewed by a prosecutor.

Doc. 264-2 at 1. He then submitted the application to a magistrate judge,



                                               Having thus taken “every step that could reasonably

be expected of” him, the Affiant was entitled to conclude “that the warrant authorized a search for

the materials outlined in the [A]ffidavit.” Sheppard, 468 U.S. at 989.

       None of the exceptions recognized in Leon applies here. Even if the Affidavit ultimately

                                                 15
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 16 of 23



did not establish probable cause to believe that the relevant devices would be found in Manafort’s

residence, it was not so “bare bones” or “so lacking in indicia of probable cause as to render official

belief in its existence entirely unreasonable.” Leon, 468 U.S. at 923, 926; see Millender, 565 U.S.

at 547 (stating that “the threshold for establishing this exception is a high one, and it should be”).

Nor would any of the three particularity challenges raised by Manafort, even if meritorious, render

the warrant “so facially deficient . . . that the executing officers [could] not reasonably presume it

to be valid.” Leon, 468 U.S. at 923. To the contrary, because courts have rejected particularity

challenges to similar provisions in other warrants, see p. 9, supra, “a reasonably well trained officer

would [not] have known that” the warrant here was invalid “despite the magistrate’s

authorization.” Leon, 468 U.S. at 922 n.23. Accordingly, the good-faith exception forecloses

application of the exclusionary rule. 7 See Maxwell, 920 F.2d at 1034 (D.C. Cir.) (applying good-

faith exception to warrant held “overly broad”); see also United States v. Nicely, 922 F.2d 850,

859 (D.C. Cir. 1991) (declining to suppress where the defendant claimed the warrant lacked

specificity but “[t]he itemization of documents subject to seizure in th[e] warrant does not appear

to be blatantly open-ended”).

II. Manafort’s Challenges To The Execution Of The Search Warrant Are Unavailing And
    Do Not Support Suppression In Any Event

       Manafort argues (Doc. 264 at 6-10) that the government’s execution of the warrant violated

the Fourth Amendment because, he claims, the executing agents seized materials outside the

warrant’s scope and the government has retained all seized materials since the search without



       7
          Although Leon recognized two other exceptions to its rule of objectively reasonable
reliance, Manafort does not assert any facts that would bring those two exceptions into play. See
468 U.S. at 923 (noting exception for when the issuing magistrate “was misled by information in
an affidavit that the affiant knew was false or would have known was false except for his reckless
disregard of the truth,” or where the magistrate abandons her judicial role, such as by participating
in the execution of the warrant).
                                                 16
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 17 of 23



returning to him those irrelevant to the prosecution. Those contentions lack merit and establish no

basis for suppressing evidence properly seized as within the scope of the warrant.

       A. The Executing Agents Did Not Seize Devices Beyond The Scope Of The Warrant

       Manafort contends (Doc. 264 at 6-7) that the government exceeded the scope of the warrant

by seizing “every electronic and media device in” his home. That was improper, Manafort asserts,

because the warrant permitted the seizure of “electronic devices used in the commission of the

subject offenses,” and no reasonable agent could believe that devices “such as an Apple iPod” or

“iPod Touch” had been used to commit the crimes at issue. Id. at 7.

       Manafort’s contention again rests on his mistaken reading of the warrant—that is, that it

authorized only the seizure of computers and storage media that were instrumentalities of the

Subject Offenses. As explained above, however, the warrant also authorized agents to search

“storage media (such as hard disks or other media that can store data)” for the 11 categories of

records enumerated in Attachment B. See Doc. 264-1 Attach. A. Devices such as the iPod and

iPod Touch plainly qualify as “storage media,” since they can store files such as contact lists and

can even be used as backup drives. See, e.g., See United States v. Ballard, 551 Fed. Appx. 33, 36

(3d Cir. 2014) (unpublished) (personal information relevant to identity-theft scheme found on

iPod); United States v. Okeayainneh, No. 11-cr-87, 2011 WL 2457395, at *10 (D. Minn. May 13,

2011) (affidavit established probable cause to believe that an iPod was among the devices used to

store and transmit information in a fraud and identity-theft scheme). Because those devices are

capable of storing evidence that falls within the scope of the warrant, the agents properly imaged

those devices or took them for offsite review under Attachment A to the warrant.

       In any event, Manafort would not be entitled to suppression even if he were correct. Absent

evidence that the government flagrantly disregarded the terms of the warrant (which Manafort



                                               17
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 18 of 23



does not allege), the remedy for the seizure of materials outside the scope of a warrant is

suppression of the improperly seized materials. See Maxwell, 920 F.2d at 1034 n.7. Here,

Manafort identifies only the two iPod devices as supposedly falling outside the warrant’s terms,

but the government will not be introducing any evidence obtained from those devices at the trial

in this case. There is, in short, nothing to suppress.

       B. The Government’s Efforts To Review And Segregate Non-Responsive Information
          Have Been Reasonable And Do Not Warrant Suppression

       Manafort’s final contention (Doc. 264 at 7-10) is that the government has violated his

Fourth Amendment rights by retaining the materials seized from his residence without (he claims)

making an effort to identify and return materials that fall outside the scope of the warrant. That

contention, however, is based on an incomplete account of the government’s conduct and readily

distinguishable out-of-circuit case law.

       1. The governing legal principle is again undisputed. As the Supreme Court has explained,

“[t]he general touchstone of reasonableness which governs Fourth Amendment analysis governs

the method of execution of the warrant.” United States v. Ramirez, 523 U.S. 65, 71 (1998) (internal

citation omitted); see Dalia v. United States, 441 U.S. 238, 258 (1979) (“[T]he manner in which a

warrant is executed is subject to later judicial review as to its reasonableness.”). In considering

whether the execution of a warrant authorizing the search of computers or voluminous materials

was reasonable, courts have considered factors such as the length of the delay between the search

and the government’s review of seized materials; the reasons for the delay, including whether any

period was attributable to the need to conduct privilege review; and whether the government

officers acted in bad faith. See, e.g., United States v. Jarman, 847 F.3d 259, 266-67 (5th Cir. 2017);

United States v. Syphers, 426 F.3d 461, 469 (1st Cir. 2005).

       The government’s execution of the warrant and retention of seized data in this case have

                                                 18
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 19 of 23



been reasonable at each step. As explained above, in executing the warrant, the government

imaged as many of Manafort’s electronic devices and storage media as possible onsite so that

Manafort could retain custody of those devices. Doc. 264-1 at 7. Aware that attorney-client-

privileged materials might be found in the residence, see Aff. ¶ 68, the executing agents flagged

and segregated potentially privileged materials during the search. Doc. 264-1 at 2, 10 (search

warrant return). The government made those materials available within days to the attorneys

representing Manafort at the time.      It also promptly gave Manafort “access to hard copy

documents” seized from the residence. Nov. 17, 2017 Ltr. at 3, Exh. A, infra (explaining that

Manafort had already been given access to such documents but that the government was still

“producing” them). And all the while, the government has employed a filter (or “taint”) team of

attorneys outside the prosecution team “[t]o address potential privilege issues.”          Id. at 11

(explaining use of a filter team and informing defendants that the attorney coordinating the filter

team “will make productions to defense counsel directly”); cf. United States v. Singhal, 800 F.

Supp. 2d 12, 15 (D.D.C. 2010) (filter-team procedure calls for “attorneys who are not involved in

the case . . . to review the documents before the active prosecution team is permitted to see them”).

       Contrary to Manafort’s suggestion, the government’s review of the seized materials has

not been limited to determining issues of privilege. See Doc. 264 at 7 (asserting that “[t]he

government has only represented that the materials have been subject to a privilege review”).

Rather, as reflected in several discovery letters sent to Manafort’s counsel, the government has

conducted extensive review of the seized devices and made efforts to segregate materials that are

“irrelevant to this” prosecution, a category that necessarily includes materials outside the scope of

the warrant. Dec. 1, 2017 Ltr. at 3, Exh. B, infra. For example, in a December 1, 2017 letter to

counsel for Manafort and then-codefendant Gates, the government stated that it



                                                19
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 20 of 23



       has endeavored to segregate out, from the material being produced, documents that
       are irrelevant to this matter. Given the volume of devices and electronic records,
       the government has relied on an automated process to remove certain categories of
       records that the government expects to be irrelevant. If you would like to discuss
       in further detail what this process entails, please let us know. Additionally, if you
       wish to examine any of the material removed from this (or any future) production
       through this automated process for identifying irrelevant material, please contact us
       to discuss and to arrange a mutually agreeable time.

Id.; see Nov. 17, 2017 Ltr. at 3, Exh. A, infra (as of November 17, 2017, electronic media were

“being processed to segregate out both privileged material . . . and personal material that is

irrelevant to the prosecution”). Manafort has not asked for an opportunity to review materials

sorted pursuant to the government’s internal processes, suggested to the government that its review

was inadequate to identify material outside the scope of the warrant, or requested that the

government return to him materials that he believes to fall outside the warrant’s scope. 8

       2. The government’s review process described above bears no resemblance to circum-

stances in the cases cited by Manafort in which courts have ordered blanket suppression of

evidence. In his leading case, United States v. Metter, 860 F. Supp. 2d 205 (E.D.N.Y. 2012), the

government had not commenced privilege or pertinence review of seized and imaged items 15

months after the warrant’s execution.        Id. at 211.    Although recognizing that the Fourth

Amendment does not set a hard-and-fast limit on the period for the government “to review seized

electronic data,” the court in Metter characterized as “unreasonable and disturbing” “[t]he




       8
          To the extent that Manafort’s reference to “indefinite retention of all . . . electronically-
stored material” (Doc. 264 at 9) is meant to suggest that the government cannot retain a complete
copy of imaged devices that also contain material outside the scope of the warrant, that suggestion
lacks merit. As the en banc Second Circuit recently observed, the government has strong reasons
for retaining “a complete mirror” of a storage medium, especially in a case headed for trial.
See United States v. Ganias, 824 F.3d 199, 215-16 (2d Cir.) (explaining that copies may need to
be retained in case they need to be provided to forensic experts and, more generally, “to preserve,
authenticate, and effectively present at trial the evidence . . . lawfully obtained” from the device),
cert. denied, 137 S. Ct. 569 (2016).
                                                 20
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 21 of 23



government’s retention of all imaged electronic documents, including personal emails, without

any review whatsoever to determine not only their relevance to this case, but also to determine

whether any recognized legal privileges attached to them.” Id. at 215. Blanket suppression of all

evidence from the storage media was appropriate, the court concluded, because the government

had acted in bad faith, as shown by its “fail[ure] to commence the review, despite repeated requests

from defense counsel and directions from the Court to do so.” Id. at 216.

       The decision in United States v. Debbi, 244 F. Supp. 2d 235 (S.D.N.Y. 2003), involved

what the court found to be similarly egregious facts. Agents executing a “very broad warrant”

permitting seizure of evidence of health-care fraud and obstruction of justice took from an eye

doctor’s home “many items that plainly fell outside th[o]se parameters, such as personal and

religious files, general correspondence, family financial records, [and] private patient records.” Id.

at 237. The government did not attempt to separate those items from evidence of the subject crimes

at the time of the search and, even “after repeated demands from defense counsel,” returned only

“a limited portion of improperly seized materials.” Id. at 237-28. Finding that the government

had “blatantly disregard[ed] the very limitations that saved the warrant from overbreadth,” the

court suppressed as evidence—and ordered the government to return—“any items seized from the

Debbi home that” the government had not yet determined to be “evidence of either obstruction or

health care fraud.” Id. at 238. The court reserved decision, however, on whether to suppress all

of the evidence that the government obtained during the search was appropriate. Id.

       The government’s conduct here is readily distinguishable from these cases. The court in

Metter based its decision on the government’s failure to conduct privilege and pertinence review

for 15 months after executing the warrant. 860 F. Supp. 2d at 215. Here, the government began

conducting privilege review, identifying pertinent materials, and segregating out “irrelevant,



                                                 21
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 22 of 23



personal information,” id., almost immediately after the search. Compare Jarman, 847 F.3d at

266-67 (distinguishing Metter where the government employed a filter team “to protect . . . [the]

privileged information” of the defendant’s clients, privilege review took eight months, and the

government then promptly “completed its forensic examination”). Nor is this an instance, as in

Debbi, where the government was aware that it had seized sensitive personal items but made little

effort to return them, despite “repeated demands from defense counsel.” 244 F. Supp. 2d at 137-

38.   On the contrary, and as explained above, Manafort’s counsel did not respond to the

government’s offers to discuss its screening process and did not request the return of non-

responsive materials until filing the present motion. And on the one occasion when Manafort’s

former counsel requested the return of privileged material in August 2017, the government

immediately arranged for that material to be returned.

       In sum, given the government’s extensive efforts to review seized materials for privilege

and pertinence, its execution of the warrant falls well within the bounds of reasonableness required

by the Fourth Amendment. Further, because no precedent would have alerted a reasonably well-

trained officer that executing a warrant in the manner the government has done here violates the

Fourth Amendment, the good-faith exception to the exclusionary rule forecloses suppression.

See Leon, 468 U.S. at 922 n.23. And finally, absent any claim of bad faith or flagrant disregard of

the warrant’s terms (which Manafort has not made), any suppression remedy for improper

retention of materials outside the scope of the warrant would be limited to exclusion of those

materials at trial. See Maxwell, 920 F.2d at 1034 n.7; United States v. Tamura, 694 F.2d 591, 597

(9th Cir. 1982) (“Generally, the exclusionary rule does not require the suppression of evidence

within the scope of a warrant simply because other items outside the scope of the warrant were

unlawfully taken as well.”) (cited at Doc. 264 at 7, 9).



                                                 22
        Case 1:17-cr-00201-ABJ Document 284 Filed 04/23/18 Page 23 of 23



                                       CONCLUSION

       For the foregoing reasons, Manafort’s motion to suppress evidence derived from the search

of his residence (Doc. 264) should be denied.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER, III
                                                     Special Counsel

Dated: April 23, 2018                                /s/ Andrew Weissmann
                                                     Andrew Weissmann
                                                     Greg D. Andres (D.D.C. Bar No. 459221)
                                                     Scott A.C. Meisler
                                                     U.S. Department of Justice
                                                     Special Counsel’s Office
                                                     950 Pennsylvania Avenue NW
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 616-0800

                                                     Attorneys for the United States of America




                                                23
Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 1 of 15




           EXHIBIT A
        Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 2 of 15

                                             U.S. Department of Justice
   1.

                                              The Special Counsel’s Office

                                             Washington, D.C. 20530




                                             November 17, 2017
By Hand Delivery and Email

Kevin M. Downing, Esq.
Law Offices of Kevin Downing
 815 Connecticut Avenue, N.W. /Suite 730
Washington, D.C. 20006
(kevindowning@kdowninglaw.com)
(Counsel for Paul J. Manafort, Jr.)

Shanlon Wu, Esq.
Wu, Grohovsky & Whipple, PLLC
Ronald Reagan Building
& International Trade Center
1300 Pennsylvania Avenue, N.W./Suite 700
Washington, D.C. 20004
(swu@dcwhitecollar.com)
(Counsel for Richard W. Gates III)

        Re: United States v. Paul J. Manafort, Jr. & Richard W. Gates III
            Crim. No. 17-201 (ABJ)

Dear Messrs. Downing & Wu:

       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, enclosed
please find the government’s first discovery production. The government requests
reciprocal discovery from each defendant. This production, and all others, are
covered by the Protective Order entered by the Court on November 15, 2017.

      Enclosed with this letter are a thumb drive and a larger hard drive. The
enclosed materials are protected by a password that will be sent to you under
separate cover.
      Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 3 of 15




I.    The Government’s Discovery

      A.     Statements of the Defendants

      Below please find a list of documents containing the defendants’ statements
which are being produced in the enclosed thumb drive:

 Attachment      Date of Statement
 #
 1               October 30, 2017 Statement of Paul J. Manafort, Jr. (Post-Arrest)
 2               October 30, 2017 Statement of Richard W. Gates III (Post Arrest)
 3               July 26, 2017 Statement of Paul J. Manafort (Condominium Search)
 4               March 13, 2013 Interview of Paul J. Manafort, Jr.
 5               July 2, 2014 Interview of Richard W. Gates III
 6               July 30, 2014 Interview of Paul J. Manafort, Jr.

      B.     The Defendants’ Criminal History

      The government is not presently aware of any criminal history by either
defendant.

      C.     Documents and Tangible Objects

      You may examine the physical evidence discoverable under Rule 16,
including original documents, by calling the undersigned to arrange a mutually
convenient time.

             •   Documents seized from physical searches

       Court-authorized search warrants were executed in this matter, including a
July 26, 2017 search of defendant Manafort’s residence at
      Alexandria, Virginia (“                    search”), and a May 27, 2017 search
of a storage unit at 370 Holland Lane, Unit 3013, Alexandria, Virginia (“storage
unit search”). The government is producing copies of the search warrant affidavits,
with redactions to protect the identity of individuals who provided information and
the government’s ongoing investigation. Below is a list of material related to these
searches that are being produced on the enclosed thumb drive.




                                       Page 2
      Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 4 of 15




 Attachment Document                                            Bates Range
 #                                                              (where applicable)
 7          Application and Affidavit (with redactions)         N/A
            for search at
            Alexandria, VA
 8          Warrant Return for search of                        N/A
                              Alexandria, VA
 9          Application and Affidavit (with redactions)         N/A
            for search at 370 Holland Lane, Unit 3013,
            Alexandria, VA
 10         Warrant Return for 370 Holland Lane, Unit           N/A
            3013, Alexandria, VA
 11         Photographs of Condominium Search                   SCO-PROD01-
                                                                00000001 – 00001383

       With respect to the                     search, the government has already
provided defendant Manafort with access to hard copy documents and has provided
all electronic discovery already, either by leaving the originals of the electronic
material on site at the time of the search (and the government only took an
electronic image) or by later producing an electronic copy to the defense of the
material that could not be copied at the time of the search. Accordingly, the
government does not intend to reproduce these electronic materials to defendant
Manafort, but we are producing the hardcopy documents. The government is
currently processing the electronic media seized from                               for
production to defendant Gates. In particular, these materials are being processed
to segregate out both privileged material (including, for example, those instances
where Manafort is the sole privilege holder) and personal material that is irrelevant
to the prosecution. If you would like to discuss in further detail what these
processes entail, please let us know. Once the privileged and personal materials are
segregated, the government will provide copies of the remaining material to the
defendant Gates, on a rolling basis.

       The government also has obtained possession of other electronic devices
(including computers), which as explained below, are being processed and/or
reviewed by a separate taint team of agents and prosecutors to ensure that the
prosecution team is not provided with any privileged material. This issue is further
addressed below in Section I(G).

      A copy of the physical material seized during the storage unit search will be
produced to both defendants in a subsequent production.




                                        Page 3
      Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 5 of 15



         •   Financial and other Documents

      The government has obtained a substantial number of additional documents
that will be produced on a rolling basis. To facilitate the production of various
financial records, the government provides the following documents on the enclosed
thumb drive (we will be reproducing this material in load-ready format with
sequential Bates stamps at a later date):




                                      Page 4
        Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 6 of 15




            •   “Hot” Documents

      In light of the volume of documentary evidence to be produced in this case,
the government will endeavor to identify “hot” documents. Our initial effort in that
regard is being produced with this letter, as identified below:

    Attachment Date of Statement                                 Bates range
    #
    24         “Hot Docs”                                        SCO-PROD01-00002496 –
                                                                 00008832


Included among these documents are certain tax documents, including documents
from KWC (formerly Kositzka, Wicks and Co.), identified with the Bates numbers
SCO-PROD01-00004863 – 00008832.

            •   Hard Drive Documents

        In addition to the aforementioned documents provided on the thumb drive,
the government is producing an additional set of documents on a separate hard
drive. 1 The hard drive contains approximately 89,000 separate items,
encompassing Bates numbers DOJSCO-400000001 – DOJSCO-400261645. The
index for the documents is as follows:




1
 All documents titled with a numbered attachment can be found on the thumb drive being produced by
the government (e.g. “Attachment 1 – October 30, 2017 Statement of Paul J. Manafort, Jr. (Post-Arrest)”).
Such documents are titled by the attachment name as listed in this letter, and are not being produced in
load-ready format. All documents produced on the hard drive are in load-ready format for any e-
discovery platform.
                                                Page 5
Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 7 of 15




                             Page 6
Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 8 of 15




                             Page 7
Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 9 of 15




                             Page 8
Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 10 of 15




                              Page 9
Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 11 of 15




                             Page 10
      Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 12 of 15




      D. Reports of Examinations and Tests

     The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

      E.     Expert Witnesses

       The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R.
Evid. 702, 703 and 705 and notify you in a timely fashion of any expert that the
government intends to call at trial and provide you with a summary of the expert’s
opinion.

      The identity, qualifications, and bases for the conclusions of each expert will
be provided to you when they become available.

      F.     Brady Material, Jencks Material and Other Crimes, Wrongs or
             Acts

       The government understands and will comply with its continuing obligation
to produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83
(1963), and its progeny.

       Before trial, the government will furnish materials discoverable pursuant to
Title 18, United States Code, Section 3500 (Jencks Act), as well as impeachment
materials. See Giglio v. United States, 405 U.S. 150 (1972). The government will
provide the defendant with reasonable notice in advance of trial if it intends to offer
any material under Fed. R. Evid. 404(b). As suggested by the Court at the
November 6, 2017 conference, the government expects to work with the defendants
to propose a schedule with respect to the production of both Rule 404(b) notice and
Section 3500 (Jencks Act) material.

      G. Privilege/Taint Review

      To address potential privilege issues with respect to materials obtained
during the investigation, the government employed a taint review process, which
was managed by                  ,

in the Department of Justice. As to certain material, Ms.       will make
productions to defense counsel directly. She can be reached at (202)            .


                                        Page 11
      Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 13 of 15



      H. Indictment References

      Please see below regarding the anonymized references in the Indictment:

 Anonymized Reference                Identity
 (from Indictment)
 Vendor A
 Vendor B
 Vendor C
 Vendor D
 Vendor E
 Vendor F
 Vendor G
 Vendor H
 Vendor I
 Vendor J
 Vendor K
 Vendor L
 Vendor M
 Vendor N
 Vendor O

 Vendor P
 Vendor Q

 Vendor R
 Vendor S
 Company A
 Company B


II.   The Defendants Required Disclosures

      The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that each
defendant allow inspection and copying of (1) any books, papers, documents, data,
photographs, tapes, tangible objects, or copies or portions thereof, that are in the
defendant’s possession, custody or control, and that the defendant intends to
introduce as evidence or otherwise rely on at trial, and (2) any results or reports of
physical or mental examinations and of scientific tests or experiments made in
connection with this case, or copies thereof, that are in the defendant’s possession,
custody or control, and that the defendant intends to introduce as evidence or


                                       Page 12
      Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 14 of 15



otherwise rely upon at trial, or that were prepared by a witness whom the
defendant intends to call at trial.

       The government also requests that the defendants disclose prior statements
of witnesses who will be called by the defendants to testify. See Fed. R. Crim. P.
26.2. In order to avoid unnecessary delays, the government requests that the
defendants have copies of those statements available for production to the
government no later than the commencement of trial.

      The government also requests that the defendants disclose a written
summary of testimony that the defendants intends to use as evidence at trial under
Rules 702, 703, and 705 of the Federal Rules of Evidence. The summary should
describe the opinions of the witnesses, the bases and reasons for the opinions, and
the qualification of the witnesses.

       Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written
notice of the defendants’ intention, if any, to claim a defense of actual or believed
exercise of public authority, and also demands the names and addresses of the
witnesses upon whom the defendants intend to rely in establishing the defense
identified in any such notice.




                                        Page 13
       Case 1:17-cr-00201-ABJ Document 284-1 Filed 04/23/18 Page 15 of 15




III.   Conclusion

      If you have any questions or requests regarding further discovery, please do
not hesitate to contact us.

                                      Very truly yours,

                                      ROBERT S. MUELLER, III
                                      Special Counsel

                                      By: /s/
                                      ________________________
                                      Andrew Weissmann
                                      (202)

                                      Greg D. Andres
                                      (202)

                                      Kyle R. Freeny
                                      (202)

       Enclosures
cc:




                                      Page 14
Case 1:17-cr-00201-ABJ Document 284-2 Filed 04/23/18 Page 1 of 6




           EXHIBIT B
         Case 1:17-cr-00201-ABJ Document 284-2 Filed 04/23/18 Page 2 of 6

                                               U.S. Department of Justice
   1.

                                               The Special Counsel’s Office

                                               Washington, D.C. 20530




                                               December 1, 2017
By Hand Delivery and Email

Kevin M. Downing, Esq.
Law Offices of Kevin Downing
815 Connecticut Avenue, N.W. /Suite 730
Washington, D.C. 20006
(kevindowning@kdowninglaw.com)
(Counsel for Paul J. Manafort, Jr.)

Shanlon Wu, Esq.
Wu, Grohovsky & Whipple, PLLC
Ronald Reagan Building
& International Trade Center
1300 Pennsylvania Avenue, N.W./Suite 700
Washington, D.C. 20004
(swu@dcwhitecollar.com)
(Counsel for Richard W. Gates III)

         Re: United States v. Paul J. Manafort, Jr. & Richard W. Gates III,
             Crim. No. 17-201 (ABJ)

Dear Messrs. Downing & Wu:

       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, enclosed
please find the government’s third discovery production in the above-referenced
case. Enclosed with this letter are (1) a thumb drive, (2) a hard drive, and (3) for
defendant Gates only, a CD. All media are protected by a password that will be
sent to you under separate cover. This production, and all others, are covered by the
Protective Order entered by the Court on November 15, 2017.

Contents of the Enclosed Thumb Drive

         The enclosed thumb drive contains 19 numbered attachments, as set forth
below.
       Case 1:17-cr-00201-ABJ Document 284-2 Filed 04/23/18 Page 3 of 6



         Search Warrant Applications and Related Materials

       Enclosed are copies of several additional search warrants and search warrant
affidavits detailed in the chart below. Redactions have been made to protect the
identity of individuals who provided information and to protect the government’s
ongoing investigation.


 Attachment #          Document
 1                     Warrant, Application, and Affidavit for search of
                                @dmpint.com
 2                     Warrant, Application, and Affidavit for search of
                                 @dmpint.com
 3                     Warrant, Application, and Affidavit for search of
                             @dmpint.com and            @dmpint.com
 4                     Warrant, Application, and Affidavit for search of
                             @me.com
 5                     Warrant, Application, and Affidavit for search of
                                @gmail.com
 6                     Warrant, Application, and Affidavit for search of Hard
                       Drive with Serial Number WXB1AA006666
 7                     Warrant, Application, and Affidavit for search of bank
                       account no.
 8                     Warrant, Application, and Affidavit for search of bank
                       account no.
 9                     Warrant, Application, and Affidavit for search of bank
                       account no.
 10                    Warrant, Application, and Affidavit for search of
                              @me.com
 11                    Warrant, Application, and Affidavit for search of the
                       Dropbox account for        @gmail.com

         Defendants’ Deposition Testimony

       Enclosed are copies of deposition testimony from the defendants Gates and
Manafort, and                    , in the matter captioned In re: Application of Kris
Beighton et al., Case No. 1:15-mc-20 in the United State District Court for the
Eastern District of Virginia. Both written transcripts and video of the testimony
are being produced, as set forth below:




                                        Page 2
       Case 1:17-cr-00201-ABJ Document 284-2 Filed 04/23/18 Page 4 of 6




 Attachment     Document Description
 #
 12             Video of Testimony by Richard W. Gates III on November 16, 2015
 13             Video of Testimony by                  on November 30, 2015
 14             Video of Testimony by Richard W. Gates III on December 2, 2015
 15             Video of Testimony by Paul J. Manafort Jr. on December 16, 2015
 16             Transcript of Testimony by Richard Gates III on November 16, 2015
 17             Transcript of Testimony by                   on November 30, 2015
 18             Transcript of Testimony by Richard Gates III on December 2, 2015
 19             Transcript of Testimony by Paul Manafort Jr. on December 16, 2015

Contents of the Enclosed CD (Produced to Gates only)

      Also enclosed for the defendant Gates is a CD containing copies of materials
found on nine devices seized (or imaged) during the search of the defendant
Manafort’s residence at                   . The files are being produced as AD1
Image files, which can be viewed by using publicly available software that can be
downloaded for free. If you have any questions or concerns about accessing these
documents, please do not hesitate to contact us.

       As previously noted, the government is not producing privileged material
from these devices. Any questions about privileged material or issues should be
directed to                at (202)          , who we understand has already
reached out to counsel for both defendants. Additionally, the government has
endeavored to segregate out, from the material being produced, documents that are
irrelevant to this matter. Given the volume of devices and electronic records, the
government has relied on an automated process to remove certain categories of
records that the government expects to be irrelevant. If you would like to discuss in
further detail what this process entails, please let us know. Additionally, if you
wish to examine any of the material removed from this (or any future) production
through this automated process for identifying irrelevant material, please contact
us to discuss and to arrange a mutually agreeable time.

      These documents are not being reproduced to defendant Manafort, as he has
already been provided with access to this material.

Contents of the Enclosed Hard Drive

       Finally, the enclosed hard drive contains approximately 80,000 separate
items, encompassing Bates numbers DOJSCO-401362401 – DOJSCO-401790274.
These documents are in load-ready format for any e-discovery platform. An index
for the hard drive is as follows:
                                        Page 3
Case 1:17-cr-00201-ABJ Document 284-2 Filed 04/23/18 Page 5 of 6




                             Page 4
       Case 1:17-cr-00201-ABJ Document 284-2 Filed 04/23/18 Page 6 of 6




      As previously noted, you may examine the physical evidence discoverable
under Rule 16, including original documents, by calling the undersigned to arrange
a mutually convenient time.

      If you have any questions about this production or any further discovery,
please do not hesitate to contact us.

                                      Very truly yours,

                                      ROBERT S. MUELLER, III
                                      Special Counsel

                                      By: /s/
                                      ________________________
                                      Andrew Weissmann
                                      (202)

                                      Greg D. Andres
                                      (202)

                                      Kyle R. Freeny
                                      (202)
      Enclosures
cc:

                                       Page 5
